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v. No. 4:17-1\/13;1».~.¢ ll_¢)" mm""

CHRISTOPHER CHARLES ANDERSON

CRIMINAL COMPLAINT

 

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief:

Alleged Offense, Unlawful Firearm Possession:

On or about September 24, 2017, in the Northern District of Texas, Fort
Worth Division, the defendant, Christopher Charles Anderson, who was
then under indictment for a crime punishable by imprisonment for a term
exceeding one year, did willfully receive the following firearm and
ammunition: a Smith & Wesson, SD9 VE, 9mm pistol, serial number
FXS4715, and about 45 rounds of Federal 9mm Luger ammunition, said
firearm and ammunition having been shipped and transported in interstate
and foreign commerce, in violation of 18 U.S.C. §§ 922(n) and 924(a)(l)(D).

Probable Cause:

l, Special Agent J. Klutka, under oath, duly state that l am a special agent the Bureau of
Alcohol, Tobacco, Firearms, and Explosives (ATF). The statements set forth in this
affidavit are true and correct to the best of my knowledge and belief, but are not inclusive
of all the evidence or information in the case.

1. On or about September 24, 2017, Fort Worth police arrested Christopher Charles
Anderson (Anderson) in response to a call that Anderson had pointed a gun at
another driver in a road-rage incident.

2. At approximately 3 :07, p.m. on September 24, Fort Worth police received an
emergency call stating a black male in a white Lexus had pointed a gun at a
another driver who was driving a black Toyota 4Runner. Although the responding

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officer was initially confused as to whether the suspect was the Lexus driver or the
4Runner driver, he determined the suspect was driving the white Lexus and the
victim was driving the 4Runner.

3. The driver of the 4Runner, who continued to follow the white Lexus, informed the
responding officer that the Lexus had just left Interstate 820 at the White
Settlement Road exit. The responding officer took the White Settlement exit and
noticed the white Lexus turn westbound onto White Settlement Road.

4. The responding officer got behind the Lexus and turned his overhead lights and
siren on to initiate a stop. The Lexus stopped around 9400 White Settlement
Road, and the responding officer got out of car with his weapon drawn. The
responding officer repeatedly commanded Anderson, who was driving the Lexus,
to put his hands outside the window. As these commands were given, Anderson
would stick his hands out the window and then pull them back in.

5. As a backup officer arrived, Anderson pulled his hands back into the car and sped
off. Both officers pursued Anderson. During the pursuit, the black female
passenger, later identified as Zadrien Daniels, was seen jumping out of the Lexus,
tumbling to the ground as the Lexus continued to drive away. At this spot,
officers would later discover and seize a Smith & Wesson, SD9 VE, 9mm pistol,
serial number FXS4715. The Smith & Wesson firearm had been stolen on April
18, 2017, from CYA Guns & Ammo in Forney, Texas.

6. Anderson continued to flee until he crashed into an unoccupied car around the
comer of Jericho and Westmere Lane. Pursuing officers saw Anderson continue
to flee on foot and they lost track of him after he climbed a privacy fence into a
resident’s back yard. As the officers continued to search the area, they received
word from neighbors that they saw a black male jumping fences and heading west.
The officers continued to search when they received word from a neighbor
indicating she saw a black male enter a home on Maryville Lane three doors down
from her home.

7. The officers went to the home and saw the front door window had been smashed.
Officers entered the horne and eventually located Anderson hiding behind the
bathroom door in the master bedroom. The officers took Anderson into custody,
verified he was the driver of the Lexus, and verified with the homeowner that
Anderson did not live there and did not have permission to be in the home.

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Officers also noticed that Anderson had fresh scratches on his arms consistent
with him having scaled the privacy fence earlier.

8. During an inventory search of the Lexus, officers found and seized a box that
contained 45 rounds of Federal, 9mm Luger ammunition, which was in the center
console.

9. Officers spoke with the victim who said he was driving his 4Runner westbound on
Interstate 20 with his wife in the passenger seat and his ll-year old son in the
back. As he was passing Anglin Drive, driving in the far left lane, the white Lexus
pulled beside him and intentionally swerved into his lane, trying to ram him. The
victim said he almost collided with the concrete barrier trying to avoid the Lexus.
The victim said he slowed down, moved to the lane next to the Lexus, and threw
his hands into the air to express, “What the fuck?” The victim said this is when he
saw the black male driver pull out and point at him what he described as a light-
colored, chrome handgun. The victim said he slowed down to put distance
between himself and the Lexus and immediately dialed 9-1-1. The victim said he
continued to follow the Lexus because he was concerned the black male might
hurt someone else and he wanted to make sure the officers could stop him.

lO. Anderson had three warrants for his arrest out of Glenn Heights, three warrants for
his arrest out of the Dallas County Sheriff"s office, and one warrant for his arrest
out of Duncanville.

ll.l reviewed Anderson’s criminal history, and it shows he has been under
indictment for an offense punishable by imprisonment for a term exceeding one
year. On November 19, 2014, a grand jury in Dallas County, Texas, indicted
Anderson in case # Fl420842, for engaging in organized criminal activity.
Anderson pled guilty to that offense and on March 25, 2015, he received a
deferred adjudication and seven years’ probation. Anderson remained on
probation under the deferred adjudication on or about September 24, 2017.

12. An ATF Interstate Nexus Expert reviewed the Smith & Wesson, SD9 VE, 9mm
pistol, serial number FXS4715, and Federal 9mm Luger ammunition, and
determined they were not manufactured in the State of Texas. Thus, before April
18, 2017, the date the Smith & Wesson firearm was stolen from CYA Guns &
Ammo, it had been shipped or transported in interstate or foreign commerce to

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reach the State of Texas. Also, before September 24, 2017 , the Federal 9mm

Luger ammunition had been shipped or transported in interstate or foreign
commerce to reach Texas.

Based upon the above facts and circumstances, I respectfully submit there is probable
cause to believe that Anderson knowingly and unlawfully possessed a firearm and
ammunition, in violation of 18 U.S.C. §§ 922(n) and 924(a)(l)(D).

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J. Kl 1
SA ATF

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swoRN AND sUBscRIBED before me, at §§ 1 l§éam@ this /__?_,_ day Of

December 2017, at Fort Worth, Tex

 

 

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